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June 2, 2017
FAMILY COURT OF THE STATE OF NEW YORK

COUNTY OF NEW YORK
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In the Matter of a Custody/Visitation Proceeding, File No.: 128425
MANUEL P. ASENSIO, Docket Nos.:
V-43839-13/13A
Petitioner, V-3891 T-ASHSA,. ~
- against ~ = o
EMILIE BOSAK, ch Feet
Respondent. ~ EO
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NOTICE OF APPEAL AND NOTICE OF ENTRY OF ORDER
Of May 26th, 2017 ORDER AND AFFIDAVIT OF SERVICE

PLEASE TAKE NOTICE that the Father-Petitioner, Manuel P. Asensio, in the
above titled case hereby appeals to the New York State Supreme Court, Appellate
Division for the First Judicial Department from each and every part of and from
each and every Order and Decision contained in Official New York County
Family Court’s [“Court”] transcription of the court's directions that have the force
and full effect of an order of the Court’ issued on May 26th, 2017 by the justice

 

1 We note that the Uniform Civil Rufes for the Supreme Court and the County Court make
provision for the transcription of the court's directions at a preliminary conference and expressly
state that the transcript “shall have the force and effect of an order of the court” (22 NYCRR
202.42(e)). So that there will be no question as to the appealability of such disposition, however,
we would also require that where a party presents a written order embodying the court's

determination spread on the transcript that such order be signed.

Grisi v. Shainswit, 507 N.Y.S.2d 155, 158-59, 119 A.D.2d 418, 422 (N.Y.A.D. 1 Dept.,1986)

The transcript, corrected if necessary on motion or by stipulation of the parties approved by the
court, shall have the force and effect of an order of the court. The transcript shal! be filed by the

plaintiff with the clerk of the court.

Section 202.12, Preliminary conference, 22 NY ADC 202.12
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presently presiding in the New York County Family Court custody cases cited
above, the Hon. Adetokunbo O. Fasanya, who sits in the Court’s Part 5 on the 4"
floor of the courthouse located at 60 Lafayette Street, New York, New York
10013.

The Petitioner has caused a copy of this Notice with a copy of the transcription
of the Court’s Orders of May 26th, 2017 and Affidavit of Service by email and
hand delivery on:

Alexis Wolf, Attorneys for the Defendant-Mother
Chemtob Moss & Forman, LLP

3 East 54th Street, 16th Floor

New York, New York 10022

(212) 317-1717 smoss@cmftlaw.com

Carmen Restivo

Attorney for the Child

Appointed by Honorable Adetokunbo O. Fasanya
299 Broadway Ste 1415

New York, NY 10007

(718) 767-3798 crestivoesq@AOL.com

{, Manuel P. Asensio, am the Petitioner in the above named proceeding and hereby
swear that the foregoing is complete and true to my own knowledge.

Ps pol { foo

Manuel P. Asensio
Father-Petitioner

Sworn to before me this the 2"! Day of June 2017

 

SAMUEI.T RICHMAN
Notary Public, State of New York
No. 01R16349167
GA , Qualified in Kings County
= i = Commission Expires March 28, 2020

 

 

 

Notary Public
